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                           UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA

National Treasury Employees Union, et al.
                                                      )
                      Plaintiff(s)                    )
                                                      )
vs.                                                   )       Case Number:     25-cv-0381
Russell Vought, et al.                                )
                                                      )
                     Defendant(s)

                              DECLARATION FOR PRO HAC VICE ADMISSION
                             (to be attached to Motion for Pro Hac Vice Admission)

       In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that
the answers to the following questions are complete, true, and correct:
1. Full Name: Jennifer Dale Bennett
2. State bar membership number: 296726
3. Business address, telephone and fax numbers:
      505 Montgomery Street, Suite 625, San Francisco, CA 94111
4. List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:
      California, and see attached list for others
5. Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No ✔

6. Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?       Yes    __ _No ✔
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

7. List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years. 1
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

8. Are you a member of the DC Bar?

9. Do you have a pending application for admission into USDC for the District of Columbia?
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       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

                                            (CHECK ALL ITEMS THAT APPLY)

  1.           has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
               Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
               evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
               entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

  2.           has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
               Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
               44.1(b)(2)]; OR


   3.          has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
               by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




         I declare under penalty of perjury that the foregoing is true and correct.
        February 20, 2025
              DATE                                                                    SIGNATURE OF ATTORNEY




                                                                 2
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                     ADDENDUM OF COURT ADMISSIONS
                         FOR JENNIFER BENNETT

Name of Bar/Court                           Bar No.    Date          Date         Status
                                            (if any)   admitted      renewed
                                                                     (if any)
California Bar                              296726     6/2/2014                   Active

Supreme Court of California                 296726     6/2/2014                   Active

Supreme Court of the United States          302917     10/2/2017                  Active

U.S. Court of Appeals for the First         1175369    6/8/2016                   Active
Circuit
U.S. Court of Appeals for the Second                   12/13/2022                 Active
Circuit
U.S. Court of Appeals for the Third                    5/1/2019                   Active
Circuit
U.S. Court of Appeals for the Fourth                   11/4/2015                  Active
Circuit
U.S. Court of Appeals for the Fifth                    11/19/2015    11/12/2020   Active
Circuit
U.S. Court of Appeals for the Sixth                    10/28/2015                 Active
Circuit
U.S. Court of Appeals for the Seventh                  9/6/2019                   Active
Circuit
U.S. Court of Appeals for the Ninth                    1/13/2015                  Active
Circuit
U.S. Court of Appeals for the Tenth                    4/17/2020                  Active
Circuit
U.S. Court of Appeals for the Eleventh                 10/26/2021                 Active
Circuit
U.S. District Court, Central District of    296726     10/22/2014    8/26/2021    Active
California
U.S. District Court, Northern District of   296726     4/8/2020                   Active
California
U.S. District Court, Eastern District of               12/12/2024                 Active
Wisconsin
